                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                       EASTERN (WATERLOO) DIVISION

 UNITED STATES OF AMERICA,
          Plaintiff,                              Case No. 23-cr-2056-LTS-MAR
 vs.
                                                REPORT AND RECOMMENDATION
 DOUGLAS GILBERT UCHYTIL,                        ON DEFENDANT’S MOTION TO
                                                    DISMISS INDICTMENT
               Defendant.
                                 ____________________

                                 I.   INTRODUCTION

       On September 20, 2023, the Grand Jury charged Defendant with one count of
Possession of a Firearm by a drug user in violation of 18 U.S.C. Sections 922(g)(3).
(Doc. 3.) Specifically, the indictment charges Defendant, knowing he was then an
unlawful user of a controlled substance, methamphetamine, knowingly possessed 17
firearms that were in and affecting commerce. (Id.) Included in these firearms are
pistols, shotguns, and rifles.
       The matter before the Court is Defendant’s Motion to Dismiss Under [Rifle &
Pistol Association, Inc. v.] Bruen, [142 S. Ct. 2111 (2022)]. (Doc. 14.)       Defendant
contends Section 922(g)(3) is unconstitutional facially and as applied to his conduct. The
Government timely filed a resistance. (Doc. 17.) The Honorable Leonard T. Strand,
United States District Court Judge, referred the motion to me for a Report and
Recommendation. For the following reasons, I respectfully recommend that the District
Court deny in part and hold in abeyance in part Defendant’s Motion to Dismiss.




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                                   II.     DISCUSSION
       The Second Amendment to the United States Constitution provides “[a] well
regulated Militia, being necessary to the security of a free [s]tate, the right of the people
to keep and bear Arms, shall not be infringed.” U.S. Const. amend. II. Title 18, United
States Code, Section 922(g)(3) provides “[i]t shall be unlawful for any person . . . who
is an unlawful user of or addicted to any controlled substance (as defined in section 102
of the Controlled Substances Act (21 U.S.C. 802)) . . . to . . . possess in or affecting
commerce, any firearm or ammunition.” In Bruen, the United States Supreme Court
explained that “[w]hen the Second Amendment’s plain text covers an individual’s
conduct, the Constitution presumptively protects that conduct. The government must
then justify its regulation by demonstrating that it is consistent with the Nation’s historical
tradition of firearm regulation.” 142 S. Ct. at 2129-30. The question here is whether
Section 922(g)(3) unconstitutionally infringes upon Defendant’s right to keep and bear
arms guaranteed to persons under the Second Amendment.
A.     The Parties’ Arguments
       Defendant argues alternatively that 18 U.S.C. Section 922(g)(3) is facially
unconstitutional or is unconstitutional as applied to him under Bruen. (Doc. 14-1 at 3.)
Defendant first asserts that his conduct, possessing a firearm, is protected because he is
part of “the people” as that term is used in the Second Amendment, regardless of his use
of controlled substances.
       Defendant next asserts the Government cannot meet its burden under Bruen to
show Section 922(g)(3)’s prohibition against possession of firearms by drug users
“comports with this ‘Nation’s historical tradition of firearm regulation.’” (Doc. 14-1 at
6) (citing Bruen, 142 S. Ct. at 2135.) Defendant argues the prohibitions against unlawful
drug users possessing firearms are relatively recent and the Government cannot point to
distinctly similar historical regulation of firearms possession by illegal drug users.



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Defendant also notes that prohibition on possession of firearms by drug users are notably
absent from Heller’s list of presumptively lawful prohibitions like those against felons
and the mentally ill.
       Defendant acknowledges the existence of some tradition of regulating the
combination of firearms and intoxicants. However, he argues that prohibition of firearms
possession by persons involved in episodic use of controlled substances (that may not
involve active usage), is not supported by the historical record. Defendant continues that
even if possession of firearms by unlawful drug users represents a new societal concern,
the Government cannot justify depriving such individuals of their right to bear arms
because they do not pose the same risk as others such as felons and domestic violence
misdemeanants.
       Defendant relies on United States v. Daniels, 77 F.4th 337 (5th Cir. 2023), United
States v. Harrison, No. CR-22-00328-PRW, 2023 WL 1771138 (W.D. Okla. Feb. 3,
2023), and United States v. Connelly, 668 F.Supp.3d 662 (W.D. Tex. 2023) which found
insufficient historical tradition of firearms regulation vis-à-vis unlawful drug users.
Finally, Defendant argues that United States v. Seay, 620 F.3d 919, 922 (8th Cir. 2010)
should not be considered good law after Bruen because it does not rely on the historical
analysis required by Bruen.     Moreover, Defendant argues, Seay’s reliance on the
conclusion that lawbreakers are not part of the “people” protected by the First
Amendment was rejected by Bruen.
       After discussing the test established by Bruen, the Government asserts that, as an
unlawful user of controlled substances, Defendant is excluded from the protections
afforded to “the people,” as referred to in the text of the Second Amendment. Thus, the
plain text of the Second Amendment does not cover Defendant’s conduct.                 The
Government acknowledges several cases wherein Chief Judge C. J. Williams rejected
this argument. (Doc. 17 at 5-6, n. 1.)



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       Before the Government attempts to establish the historical antecedents of the
prohibition at issue, it discusses the possible “pitfalls” in arguing by analogy. First, if
the societal problem the regulation seeks to address existed when the Constitution was
adopted, the absence of distinctly similar historical regulation is itself evidence that the
regulation violates the Second Amendment.          Where the societal problem has been
addressed by other means than firearms regulation, this also evidences unconstitutionality
of the regulation at issue. Third, if a jurisdiction attempts to enact regulations similar to
those that have been rejected on constitutional grounds, this also tends to show the
regulation is unconstitutional.
       The Government commences its historical analysis with a discussion of the
legislative history described in United States v. Yancey, 621 F.3d 681 (7th Cir 2010)
which focused on Congress’s intent to avoid any burden on law-abiding citizens while
keeping firearms out of the hands of criminals.
       The Government acknowledges that prior to 1968, Congress had not criminalized
the possession of firearms by addicts or drug users. The Government also acknowledges
that it has found no laws or regulations from colonial times that prohibit possession by
drug users or addicts. Rather, the Government urges the Court to find relevant analogies
in proscriptions imposed on felons and the mentally ill.            The Government cites
Congressional intent to keep firearms away from “drug abusers, a dangerous class of
individuals.” (Doc. 17 at 13) (quoting United States v. Cheeseman, 600 F. 3d 270, 280
(3rd Cir. 2010)). The Government points to authorities that describe unlawful drug users
as persons who are willing to engage in risky behavior and have contempt for the law,
perhaps more so than felons because of the on-going nature of their conduct.
       The Government likens the disarming of unlawful drug users to the historical
practice of disarming persons deemed to be dangerous and untrustworthy. The
Government points to the historical practice of prohibiting persons with mental illness to



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obtain firearms. The Government also relies on the statements in District of Columbia
v. Heller, 554 U.S. 570 (2008) and McDonald v. City of Chicago, Ill., 561 U.S. 742
(2010) that support the presumptive validity of longstanding prohibitions on the
possession of firearms by certain groups. The Government also catalogs the many
decisions in this district finding Section 922(g) constitutional after Bruen. Finally, the
Government also asserts that Defendant’s as-applied challenge to Section 922(g) is
premature and must wait until the facts are developed at trial.
B.       Analysis of the facial challenge
         First, Bruen requires the Court to address whether Section 922(g)(3) regulates
conduct protected by the Second Amendment. Sections 922(g)(3) criminalizes possession
of a firearm, which is conduct expressly protected by the Second Amendment. As this
Court has previously noted,
         [t]he text of the Second Amendment does not qualify who may possess
         firearms, but rather uses the word “people.” Thus, as a textual matter, the
         plain reading of the Second Amendment covers defendant who is a person
         under the Constitution. See United States v. Perez-Gallan, 22-CR-00427-
         DC, 2022 WL 16858516, at *8-9 (W.D. Tex. Nov. 10, 2022) (finding the
         Second Amendment applies to members of the political community and is
         not limited to law-abiding citizens).

United States v. Springer, No. 23-CR-1013-CJW-MAR, 2023 WL 4981583, at *2 (N.D.
Iowa Aug. 3, 2023). Thus, I recommend the Court reject the Government’s contention
that the plain text of the Second Amendment is inapplicable to Defendant’s conduct in
possessing a firearm as an unlawful user of controlled substances.
         Second, I agree with the position other judges in this district have taken with
respect to the historical antecedents of the regulation. There is nothing I would add to
then Chief Judge Strand’s ruling in a previous challenge to Section 922(g)(3) under
Bruen:




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           I find Cobbs’ facial challenge to the constitutionality of § 922(g)(3)
  must fail for two reasons. First, I agree with the Government that Seay is
  still binding on this court. See Pruden, No. 23-cr-42, 2023 WL 6628606,
  at *4; United States v. Cooper, No. 23-CR-2040, 2023 WL 6441943, at *4
  (N.D. Iowa Sept. 29, 2023); United States v. Grubb, No. 23-CR-1014,
  2023 WL 5352000, at *4 (N.D. Iowa Aug. 21, 2023); see also Gilpin v.
  United States, Civil No. 22-04158, 2023 WL 387049, at *4 (W.D. Mo.
  Jan. 3, 2023) (denying § 2255 motion challenging post-Bruen
  constitutionality of 922(g)(3)), appeal filed, No. 23-1131 (8th Cir. Jan. 24,
  2023).
           Second, regardless of whether Seay remains binding after Bruen, §
  922(g)(3) withstands Cobbs’ constitutional challenge. As the Eighth Circuit
  explained in Jackson, Bruen reaffirmed that the right to keep and bear arms
  is still “subject to certain reasonable, well-defined restrictions,” and Bruen
  “did not disturb those statements or cast doubt on the prohibitions.”
  Jackson, 69 F.4th at 501 (quoting Bruen, 597 U.S. at 70 (citing Heller, 554
  U.S. at 581)). Although Jackson addressed the constitutionality of §
  922(g)(1) as-applied, the Eighth Circuit’s reasoning can be applied to
  Cobbs’ facial challenge to § 922(g)(3).
           In Jackson, after setting forth a lengthy history, the Eighth Circuit
  stated that “legislatures traditionally possessed discretion to disqualify
  categories of people from possessing firearms to address a threat
  purportedly posed by these people ‘to an orderly society and compliance
  with its legal norms,’ not merely to address a person’s demonstrated
  propensity for violence.” Jackson, 69 F.4th at 503 (quoting Range v. Att'y
  Gen., 53 F.4th 262, 282 (3d Cir. 2022)). The court concluded that
  “legislatures traditionally employed status-based restrictions to disqualify
  categories of persons from possessing firearms,” including “persons who
  deviated from legal norms.” Jackson, 69 F.4th at 505.
           In reaching its conclusion, the court cited United States v. Bena, 664
  F.3d 1180, 1183-84 (8th Cir. 2011). Jackson, 69 F.4th at 504. Although
  issued prior to Bruen, Bena upheld the constitutionality of § 922(g)(8),
  which prohibits the possession of firearms by a person subject to a domestic
  violence restraining order. In Bena, the Eighth Circuit conducted a
  thorough historical analysis and concluded there was “a common-law
  tradition that permits restrictions directed at citizens who are not law-
  abiding and responsible.” Bena, 664 F.3d at 1183. The court cited Seay
  to demonstrate that “§ 922(g)(3) was the type of ‘longstanding prohibition
  [] on the possession of firearms’ that Heller declared presumptively


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       lawful.” Id. (citing Seay, 620 F.3d at 925 (quoting Heller, 554 U.S. at
       626)). As the Eighth Circuit recognized in Bena, and again in Jackson,
       certain categories of non-law-abiding citizens have historically been
       disqualified from possessing firearms. Thus, barring unlawful drug users
       who pose a danger to society is consistent with the history of firearm
       regulation at the time the Second Amendment was adopted.

United States v. Cobbs, No. CR22-4069-LTS, 2023 WL 8599708, at *3–4 (N.D. Iowa
Dec. 12, 2023).
       Chief Judge Williams has also upheld Section 922(g)(3) as constitutional on several
occasions.   See United States v. Wuchter, No. 23-CR-2024-CJW-MAR, 2023 WL
4999862 (N.D. Iowa Aug. 4, 2023); United States v. Springer, No. 23-CR-1013-CJW-
MAR, 2023 WL 4981583 (N.D. Iowa Aug. 3, 2023); United States v. Ledvina, No. 23-
CR-36-CJW-MAR, 2023 WL 5279470 (N.D. Iowa Aug. 16, 2023); United States v.
Garcia, No. 23-CR-2018-CJW-MAR, at R. Doc. 25; United States v. Grubb, No. 23-
CR-1014-CJW-MAR, 2023 WL 6960371 (N.D. Iowa Oct. 20, 2023); United States v.
Pruden, No. 23-CR-42- CJW-MAR, 2023 WL 6628606 (N.D. Iowa Oct. 11, 2023); and
United States v. Hardy, No. 23-CR-87-CJW-MAR, at R. Doc. 21.
       Thus, I would decide the facial challenge to Section 922(g)(3) in the same way and
deny Defendant’s motion to dismiss.
C.     Analysis of the as-applied challenge
       Defendant claims to assert an “as-applied” challenge in his motion, but his brief
fails to address this challenge in any way. Defendant offers no reason that the ruling in
United States v. Turner would be inapplicable, i.e., that “the district court could not rule
on [the defendant’s] as applied constitutional challenge without resolving factual issues
related to his alleged offense, such as the extent of his drug use, and therefore the court
should have deferred ruling until trial.” 842 F.3d 602, 605 (8th Cir. 2016). Thus, I
recommend the Court hold in abeyance its decision on Defendant’s motion to dismiss on



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the basis that Section 922(g)(3) is unconstitutional as applied to until after trial on the
merits.
                                 III.    CONCLUSION
       For the reasons set forth above, I respectfully recommend the District Court deny
in part Defendant’s Motion to Dismiss Under Bruen (Doc. 14) as facially
unconstitutional as to 18 U.S.C. Sections 922(g)(3). I further recommend the Court hold
in abeyance its decision on Defendant’s motion on his as-applied challenge to 18 U.S.C.
Section 922(g)(3) until completion of trial on the merits.
       Objections to this Report and Recommendation in accordance with 28 U.S.C. §
636(b)(1) and Fed. R. Crim. P. 59(b) must be filed within fourteen (14) days of the
service of a copy of this Report and Recommendation. Objections must specify the parts
of the Report and Recommendation to which objections are made, as well as the parts of
the record forming the basis for the objections. See Fed. R. Crim. P. 59. Failure to object
to the Report and Recommendation waives the right to de novo review by the district
court of any portion of the Report and Recommendation as well as the right to appeal
from the findings of fact contained therein. United States v. Wise, 588 F.3d 531, 537 n.5
(8th Cir. 2009).
       DONE AND ENTERED at Cedar Rapids, Iowa, this 1st day of April, 2024.




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